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Case 2:04-cv-09049-DOC-RNB Document 4374-7 Filed 10/20/08 Page 2 of 140 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-7 Filed 10/20/08 Page 3 of 140 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-7 Filed 10/20/08 Page 4 of 140 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-7 Filed 10/20/08 Page 5 of 140 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-7 Filed 10/20/08 Page 6 of 140 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-7 Filed 10/20/08 Page 7 of 140 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-7 Filed 10/20/08 Page 8 of 140 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-7 Filed 10/20/08 Page 9 of 140 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-7 Filed 10/20/08 Page 10 of 140 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-7 Filed 10/20/08 Page 11 of 140 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-7 Filed 10/20/08 Page 12 of 140 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-7 Filed 10/20/08 Page 13 of 140 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-7 Filed 10/20/08 Page 14 of 140 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-7 Filed 10/20/08 Page 15 of 140 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-7 Filed 10/20/08 Page 16 of 140 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-7 Filed 10/20/08 Page 17 of 140 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-7 Filed 10/20/08 Page 18 of 140 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-7 Filed 10/20/08 Page 19 of 140 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-7 Filed 10/20/08 Page 21 of 140 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-7 Filed 10/20/08 Page 22 of 140 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-7 Filed 10/20/08 Page 23 of 140 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-7 Filed 10/20/08 Page 24 of 140 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-7 Filed 10/20/08 Page 25 of 140 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-7 Filed 10/20/08 Page 26 of 140 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-7 Filed 10/20/08 Page 27 of 140 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-7 Filed 10/20/08 Page 28 of 140 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-7 Filed 10/20/08 Page 29 of 140 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-7 Filed 10/20/08 Page 30 of 140 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-7 Filed 10/20/08 Page 31 of 140 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-7 Filed 10/20/08 Page 35 of 140 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-7 Filed 10/20/08 Page 36 of 140 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-7 Filed 10/20/08 Page 37 of 140 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-7 Filed 10/20/08 Page 38 of 140 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-7 Filed 10/20/08 Page 39 of 140 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-7 Filed 10/20/08 Page 40 of 140 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-7 Filed 10/20/08 Page 42 of 140 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 4374-7 Filed 10/20/08 Page 55 of 140 Page ID
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